08-13555-mg             Doc 22283                Filed 11/17/11 Entered 11/17/11 16:04:19                                           Main Document
                                                             Pg 1 of 1



   United States Bankruptcy Court for the Southern District of New York

                                                       WITHDRAWAL OF CLAIM

         Debtor Name and Case Number: Lehman Brothers Holdings Inc. 08-13555
                                                           Eurosail 2006-1 PLC
                                                           c/o Wilmington Trust SP Services (London) Limited
               Creditor Name and Address:                  Fifth Floor
                                                           6 Bmad Street Place
                                                           London EC2M 7JH

        Court Claim Number (if known): 28798

                              Date Claim Filed: September 22, 2009

             Total Amount of Claim Filed: Unliquidated

  I, the undersigned, am the above-referenced creditor, or an authorized signatory for the above-referenced
  creditor. I hereby withdraw the above-referenced claim and authorize the Clerk of this Court, or their
  duly appointed Claims Agent, to reflect this withdrawal g the official claims register for the above
  referenced Debtor.

  Dated: November 17, 2011

                                                                          en Name: Lauren Macksoud
                                                                        Title (if applicable):


                                                                DEFINITIONS
  Debtor
  The person, corporation, or other entity that has filed a bankruptcy case is called the debtor.

  Creditor
  A creditor is any person, corporation, or other entity to which the debtor owed a debt.

  Proof of Claim
  A form filed with the clerk of the bankruptcy court where the bankruptcy case was filed, to tell the bankruptcy court how much the debtor owed a
  creditor (the amount of the creditor's claim).

             ITEMS TO BE COMPLETED ON THIS WITHDRAWAL OF CLAIM
  Court, Name ofDebtor and Case Number:
  Fill in the name of the federal judicial district where the bankruptcy case was filed (for example, Central District of California), the name of the
  debtor in the bankruptcy case, and the bankruptcy case number. If you received a notice of the case from the court, all of this information is near
  the top of the notice.

  Information about Creditor:
  Complete the section giving the name and address of the creditor that was listed on the previously filed Proof of Claim foam

  Information identifying the Claim that is to be withdrawn:
  Complete the section giving the court claim number, date claim was filed and total amount of claim filed to help identify the claim that is to be
  withdrawn.

  Sign and print the name and title, if any, of the creditor or other person authorized to file this withdrawal of claim (attach copy of power
  of attorney, if any).

  This form must be filed with the clerk of the bankruptcy court where the bankruptcy case was filed
  or, if applicable, with their duly appointed Claims Agent as per any procedure approved by the
  court in the above-referenced bankruptcy proceeding.
